    Case: 1:20-cv-03871 Document #: 22 Filed: 09/22/20 Page 1 of 1 PageID #:64
       U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS
                       ATTORNEY APPEARANCE FORM

NOTE: In order to appear before this Court an attorney must either be a member in good
standing of this Court’
                      s general bar or be granted leave to appear pro hac vice as provided for
by Local Rules 83.12 through 83.14.

In the Matter of                                                           Case Number: 20-cv-3871
Kendrick v. City of Chicago et al.




AN APPEARANCE IS HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY FOR:
Defendants City of Chicago, Vincenzo Lupo, and James Hunt




NAME (Type or print)
Elizabeth K. Hanford
SIGNATURE (Use electronic signature if the appearance form is filed electronically)
           s/ Elizabeth K. Hanford
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6324009                                                 (312) 742-5113

ARE YOU ACTING AS LEAD COUNSEL IN THIS CASE?                         YES   ✔          NO


ARE YOU ACTING AS LOCAL COUNSEL IN THIS CASE?                        YES              NO    ✔

ARE YOU A MEMBER OF THIS COURT’
                              S TRIAL BAR?                           YES              NO    ✔

IF THIS CASE REACHES TRIAL, WILL YOU ACT AS THE TRIAL ATTORNEY?                       YES   ✔   NO


IF THIS IS A CRIMINAL CASE, CHECK THE BOX BELOW THAT DESCRIBES YOUR STATUS.

RETAINED COUNSEL                  APPOINTED COUNSEL
